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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 DAVID DENAGALL                                         CIVIL ACTION NO. 21-0243

                                                        SECTION P
 VS.
                                                        JUDGE TERRY A. DOUGHTY

 CALDWELL CORRECTIONAL                                  MAG. JUDGE KAYLA D. MCCLUSKY
 CENTER, ET AL.

                                           JUDGMENT

         The Report and Recommendation of the Magistrate Judge having been considered, no

 objections thereto having been filed, and finding that same is supported by the law and the record

 in this matter,

         IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff David Denagall’s

 claims are DISMISSED AS DUPLICATIVE and WITHOUT PREJUDICE to Plaintiff’s right

 to prosecute 21-0003. The claims are otherwise DISMISSED WITH PREJUDICE.

         IT IS FURTHER ORDERED that the Memorandum Order granting Plaintiff in forma

 pauperis status, [doc. # 11], is REVOKED AND RESCINDED. The Clerk of Court shall

 instruct the Prison Accounts Officer to discontinue automatically withholding funds from

 Plaintiff’s inmate account for this proceeding only.

         IT IS FURTHER ORDERED that the Clerk of Court file Document Numbers 1, 8, and

 9 from this proceeding into 21-0003.

         MONROE, LOUISIANA, this 12th day of May, 2021.



                                                   ______________________________________
                                                   TERRY A. DOUGHTY
                                                   UNITED STATES DISTRICT JUDGE
